

Sorge v Sharp Mgt. Corp. (2021 NY Slip Op 03819)





Sorge v Sharp Mgt. Corp.


2021 NY Slip Op 03819


Decided on June 15, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 15, 2021

Before: Manzanet-Daniels, J.P., Gische, Oing, Shulman, JJ. 


Index No. 23487/17E Appeal No. 14048 Case No. 2020-04710 

[*1]James Sorge, Plaintiff-Appellant,
vSharp Management Corporation, et al., Defendants-Respondents, "John Doe" Said Name Being Fictitious and Unknown, et al., Defendants.


Burns &amp; Harris, New York (Jason S. Steinberg of counsel), for appellant.
Morrison Mahoney LLP, New York (Demi Sophocleous and Saige A. Subick of counsel), for respondents.



Order, Supreme Court, Bronx County (Kenneth L. Thompson, Jr., J.), entered on or about June 22, 2020, which granted defendants Sharp Management Corporation, 2886 Briggs Realty LLC (Sharp/Briggs), and Steven Melowsky's motion for summary judgment dismissing the complaint as against them, unanimously affirmed, without costs.
Defendants demonstrated conclusively that this action is barred by Workers' Compensation Law § 11 (see Carty v East 175th St. Hous. Dev. Fund Corp., 83 AD3d 529 [1st Dept 2011]). They submitted evidence, unrebutted by plaintiff, that Sharp/Briggs operated as one integrated entity, were directed by common management, jointly shared a human resources department and jointly held the Workers' Compensation insurance policy that paid plaintiff's claim. The unrebutted evidence further established that plaintiff, despite his paychecks having been issued by StaffPro, a human resources, payroll management, and employer services organization, was Sharp/Briggs' special employee (see Fuller v KFG Land I, LLC, 189 AD3d 666, 668-670 [1st Dept 2020]; see also Thompson v Grumman Aerospace Corp., 78 NY2d 553 [1991]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 15, 2021








